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 1    Roman Otkupman, CSBN 249423
      Roman@OLFLA.com
 2    Meghan Maertz, CSBN 276976
      Meghan@OLFLA.com
 3    OTKUPMAN LAW FIRM, A LAW CORPORATION
      28632 Roadside Drive, Suite 203
 4    Agoura Hills, CA 91301
      Telephone: (818) 293-5623
 5    Facsimile: (888) 850-1310

 6    Attorneys for Plaintiff
      RITA MOHLER
 7

 8    MARGARET ROSENTHAL, SBN 147501
      mrosenthal@bakerlaw.com
 9    SABRINA L. SHADI, SBN 205405
      sshadi@bakerlaw.com
10    ERIC W. WITT, SBN 266289
      ewitt@bakerlaw.com
11    BAKER & HOSTETLER LLP
      11601 Wilshire Boulevard, Suite 1400
12    Los Angeles, CA 90025-0509
      Telephone: 310.820.8800
13    Facsimile: 310.820.8859

14    Attorneys for Defendant
      HOST INTERNATIONAL, INC.
15

16                                    UNITED STATES DISTRICT COURT

17                                   EASTERN DISTRICT OF CALIFORNIA

18

19   RITA MOHLER, an individual,                 Case No. 1:18-CV-01559-DAD-SKO
20                      Plaintiff,               STIPULATION AND ORDER TO EXTEND
                                                 DEADLINES
21           v.
                                                 Judge: Honorable Dale A Drozd
22   HOST INTERNATIONAL, INC., a
     Delaware Corporation and DOES 1 - 100,      (Doc. 11)
23   inclusive,

24                      Defendants.

25                                               Date Action Filed: October 5, 2018
26

27

28



                                STIPULATION AND ORDER TO EXTEND DEADLINES
       Case 1:18-cv-01559-DAD-SKO Document 13 Filed 11/26/19 Page 2 of 4

 1                  Plaintiff RITA MOHLER and Defendant HOST INTERNATIONAL, INC.,

 2   (collectively, “the Parties”), by and through their respective counsel of record, hereby stipulate to

 3   extend the Febuary 7, 2020 discovery deadline, until August 7, 2020. In support of this stipulation,

 4   the parties offer the following:

 5                  WHEREAS, the Parties have agreed to mediate this case with well-respected

 6   mediator Hon. Steven R. Denton, Ret. on February 24, 2020, the first avaialble date when the parties

 7   (one of whom will travel from Maryland to participate) and a mutually agreed upon mediator are

 8   available.

 9                  WHEREAS, the parties request a continuance of fact discovery and expert discovery

10   until August 7, 2020. This continuance would allow the parties time after mediation to resolve any

11   outstanding discovery disputes and to complete all discovery necessary to support their respective

12   claims and defenses.

13                  WHEREAS, the Parties have exchanged written discovery; however, party

14   depositions have not been completed. Plaintiff has noticed the deposition of numerous witnesses,

15   and Defendant is working with Plaintiff to reschedule those depositions to take place in December

16   2019.    Several of the witnesses live outside of this District, which requires making travel

17   arrangements and complicates scheduling. In addition, Defendant operates airport concessions, and

18   certain individuals Plaintiff wishes to depose have reduced availability during the holiday season.

19   Other witnesses are former employees of Defendant, and Plaintiff will need to locate and serve

20   subpoenas on those individuals to compel their appearance for deposition..

21                  WHEREAS, the Parties, therefore, request that the Court extend fact discovery cut-

22   off date until August 7, 2020, and expert discovery cut-off until August 28, 2020.

23                  WHREAS, the trial for this matter is currently set for October 6, 2020.

24                  THEREFORE, subject to the approval of this Court, it is hereby stipulated and

25   agreed that the discovery cutoff is extended to August 7, 2020 and all other corresponding deadlines

26   are extended as set forth below.

27

28
                                                       2.
                               STIPULATION AND ORDER TO EXTEND DEADLINES
       Case 1:18-cv-01559-DAD-SKO Document 13 Filed 11/26/19 Page 3 of 4

 1
                  Event                  Original Deadline                    Requested Deadline
 2

 3   Nonexpert Discovery Cutoff     February 7, 2020                  August 7, 2020

 4
     Expert Disclosure              February 21, 2020                 August 28, 2020
 5

 6   Rebuttal Expert Disclosure     March 6, 2020                     September 4, 2020

 7
     Expert Discovery Cutoff        March 27, 2020                    September 25, 2020
 8
     Dispositive Motion Filing
 9                                  April 10, 2020                    October 9, 2020
     Deadline
10
     Hearing Dispositive Motion     June 2, 2020                      December 11, 2020
11

12   Settlement Conference          December 10, 2019                 TBD (after mediation?)
13
     Pretrial Conference            August 10, 2020                   February 5, 2021
14

15   Jury Trial                     October 6, 2020                   March 8, 2021
16

17                 IT IS SO STIPULATED.

18   Dated: November 25, 2019                 OTKUPMAN LAW FIRM
19
                                              By: /s/Roman Otkupman
20                                            Roman Otkupman
                                              Meghan Maertz
21
                                              Attorneys for Plaintiff
22                                            RITA MOHLER
23
     Dated: November 25, 2019                      BAKER & HOSTETLER LLP
24

25                                                 By: /s/ Sabrina L. Shadi
                                                   Sabrina L. Shadi
26                                                 Eric W. Witt
27                                                 Attorneys for Defendant
                                                   HOST INTERNATIONAL, INC.
28
                                                    3.
                             STIPULATION AND ORDER TO EXTEND DEADLINES
         Case 1:18-cv-01559-DAD-SKO Document 13 Filed 11/26/19 Page 4 of 4

 1

 2                                                              ORDER
 3
              Based on the parties’ above-stipulation (Doc. 11), and with good cause shown, the Court
 4
     hereby ORDERS that case schedule (Doc. 9) is modified as follows:
 5

 6
     Event                           Prior Date                                      Continued Date
 7   Non-Expert Discovery Completion February 7, 2020                                August 7, 2020
 8   Expert Disclosures Deadline                  February 21, 2020                  August 28, 2020
 9   Rebuttal Expert Disclosures                  March 6, 2020                      September 4, 2020
     Deadline
10
     Expert Discovery Completion                  March 27, 2020                     September 25, 2020
11
     Non-Dispositive Motion Filing                April 10, 2020                     October 9, 2020
12   Non-Dispositive Motion Hearing               May 13, 2020                       November 18, 2020
13   Dispositive Motion Filing                    April 10, 2020                     October 9, 2020
14   Dispositive Motion Hearing                   June 2, 2020                       December 1, 2020
15   Settlement Conference                        December 10, 2019, at              Vacated; Telephonic
                                                  10:00 a.m. before                  conference to discuss re-
16
                                                  Magistrate Judge Sheila            setting Settlement
17                                                K. Oberto                          Conference set for March
                                                                                     31, 2020, at 3:00 p.m. 1
18   Pretrial Conference                          August 10, 2020, at 3:30           February 8, 2021, at 2:30
                                                  p.m.                               p.m. 2
19   Trial                                        October 6, 2020, at 1:00           March 23, 2021, at 8:30
                                                  p.m.                               a.m. 3
20
     IT IS SO ORDERED.
21

22
     Dated:      November 26, 2019                                            /s/   Sheila K. Oberto                    .
                                                                 UNITED STATES MAGISTRATE JUDGE
23

24   1
       The parties are to use dial-in number: 1-888-557-8511; passcode: 6208204#. Prior to the telephonic conference,
     counsel are to thoroughly discuss the advantages of and possibilities for settlement with their respective clients, and each
25   other, and be prepared to propose a date on which a Settlement Conference will be set. By no later than March 24,
     2020, the parties shall file a joint statement confirming that they have met and conferred and setting forth their
26   proposed Settlement Conference date(s).
     2
       As Judge Drozd conducts pretrial conferences on Mondays, the parties’ requested date was continued to the next
27   available Monday.
     3
       As Judge Drozd commences trial on Tuesdays, the parties’ requested date was continued to the next available Tuesday.
28
                                                                4.
                                    STIPULATION AND ORDER TO EXTEND DEADLINES
